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                                   UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

     UNITED STATES OF AMERICA                               :
                                                            :       HON. GENE E.K. PRATTER
                                                            :
               v.                                           :       CRIM. NO. 18-101
                                                            :
                                                            :
     MEHDI NIKPARVAR-FARD                                   :



              SENTENCING MEMORANDUM ON BEHALF OF MEHDI NIKPARVAR-FARD

               The defendant, Mehdi Nikparvar-Fard, by his attorney, Caroline Goldner Cinquanto,

     Esq., hereby submits the following memorandum in mitigation of sentence in the above-

     captioned matter.


I.             INTRODUCTION
               Dr. Nikparvar-Fard comes before this Court for sentencing on December 20, 2023, after

     having pled guilty before the Honorable Gene E.K. Pratter on January 6, 2023 to Count Five of

     the Indictment. A final Presentence Investigation Report (PSR) was prepared in this case on

     December 15, 2023. There are a total of nine objections to the PSR, only three of which potentially

     impact the guideline range. The defense also has six corrections to the PSR which are set forth

     below.

      II.           PRESENTENCE REPORT

            A. Criminal History Computation

               Dr. Nikparvar-Fard’s Criminal History has been correctly calculated as II.


            B. Offense Level Computation

               The Total Offense Level has been calculated as 34. As is set forth in detail below, the

               defense objects to this calculation and maintains that the Total Offense Level is 25.
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       C. Guidelines Calculation

          If the Court sustains the objections by the defense, the revised guideline range is 63-78

          months incarceration (Offense Level 25, CHC II).

III.          OBJECTIONS

          As an initial matter, the defense objects to any information in the PSR which concerns

counts of the indictment other than the count of conviction. Although U.S.S.G. §6B1.2(a) states

that a plea agreement that includes the dismissal of a charge . . . shall not preclude the conduct

underlying such charge from being considered under the provisions of U.S.S.G. §1B1.3

(Relevant Conduct), this guideline provision does not apply to the case at hand. The parties

agreed during plea negotiations that the dismissed counts would not be considered at sentencing

and, as a result, the government removed the language from the plea agreement which allowed

the government to “bring to the court’s attention all facts relevant to sentencing including

evidence related to dismissed counts, is any”. [Exhibit 1, First Plea Agreement, Paragraph 2(c),

compare with Second Plea Agreement, Doc. No. 536]. Consequently, it would be a violation of

the terms of the plea agreement to consider any information regarding dismissed Counts One

through Four when calculating the guidelines, including any adjustments to the Base Offense

Level.

          The government’s Sentencing Memorandum supports this position. In its Memorandum,

the government focuses only on the behavior underlying Count Five:

                 This case arose from Dr. Nikparvar-Fard’s operation of four
                 Advanced Urgent Care (AUC) facilities located in the Eastern
                 District of Pennsylvania. From May 2014 to July 2015, Dr.
                 Nikparvar-Fard was aware that his employee H.C.’s DEA
                 registration number was suspended. The Dr. Nikparvar-Fard knew
                 that H.C. could not issue legitimate prescriptions for controlled
                 substances while H.C.’s registration was suspended. Nevertheless,
                 Dr. Nikparvar-Fard agreed with co-Dr. Nikparvar-Fards Mitchell
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               White, Jason Dillinger, and others to provide pre-signed
               prescriptions to H.C. Using the pre-signed prescriptions provided
               by Mitchell White, Jason Dillinger, Dr. Nikparvar-Fard, and others,
               H.C. continued treating pain customers at AUC and issuing
               prescriptions for Schedule II controlled substances. These
               prescriptions were outside the usual course of professional practice
               and not for a legitimate medical purpose. (emphasis added)
               [Gov. Sentencing Memo, Doc. 662, p. 2].

               ....

               In this case, the Dr. Nikparvar-Fard and co-conspirators distributed
               powerful drugs to purported patients outside the usual course of
               professional practice and not for a legitimate medical purpose. They
               did so by providing pre-signed, but otherwise blank, prescriptions
               to a person they knew had no legal authority to issue prescriptions
               for controlled substances. (emphasis added)
               [Gov. Sentencing Memo, Doc. 662, p. 5].


        It is obvious that the government is limiting its comments to the criminal conduct

underlying Count Five and purposely avoids any alleged conduct underlying Counts One through

Four of the indictment pertaining to the medical assessment and treatment of patients by Dr.

Nikparvar-Fard and other physicians and staff at AUC.

        If the Court overrules this objection, the defense provides the following information in

rebuttal.

        The primary allegation underlying Counts One through Four was that, even though

patients at AUC would occasionally submit urinalyses that tested positive for illicit drugs or

failed to test positive for the prescribed medication, physicians at AUC would still prescribe the

patients controlled substances. Specifically, the government’s expert, Dr. Stephen Thomas,

stated that “under either circumstance, continued prescription of controlled substances to such

patients would not be for a legitimate medical purpose in the usual course of professional

practice. [PSIR, p. 13, ¶29]. Dr. Thomas is incorrect. There is a legitimate medical purpose for

continuing to prescribe controlled medications under these circumstances.
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       Dr. Charles McClure, an expert retained by the defense, states:

               Based on my training and practice in addiction medicine, the worst
               thing you can do both ethically and medically when a person is on
               high dose chronic opioids is to cut them off. They would
               immediately experience severe withdrawal, with the most common
               outcome being the seeking of illicit opioids such as fentanyl with a
               high risk of overdose, Hepatitis C, HIV and other physical and social
               problems. Determining the best course of treatment for the patient
               is a complex decision even for the experienced practitioner.
               [See Exhibit 2, Expert Disclosure Statement – Dr. Charles McClure]


       Dr. McClure’s position is supported by the medical literature, excerpts of which have

been attached collectively as Exhibit 3. For example, the CDC recommends that “[C]linicians

should not dismiss patients from care based on a urine drug test. This result could have adverse

consequences for patient safety, including missed opportunities to facilitate treatment for

substance use disorder. [Exhibit 3, page 2]. The American Society for Addiction Medicine

advises, “[T]he most draconian response to an inappropriate drug test result – discharging the

patient from a practice – is only rarely an acceptable option”. [Exhibit 3, page 4]. Finally, the

National Institutes of Health states in the context of Buprenorphine diversion, “[A] punitive “no

tolerance” approach with automatic discharge from treatment is highly unlikely to help patients

because untreated opioid addiction is characterized by relapse and increased morbidity and

mortality. [Exhibit 3, page 8].

        Moreover, the evidence in this case shows that the patients at AUC did not test positive

for illicit drugs at an inordinate rate. Dr. Imran Mungrue, Ph.D., a graduate from the Department

of Laboratory Medicine and Pathobiology from the University of Toronto, was retained by the

defense to ascertain the percentage of AUC urine tests which tested positive for illicit drugs

and/or did not test positive for the prescribed medication. [Exhibit 4 – Rule 16(b)(1(iii)

Disclosure and Expert C.V]. Once these percentages were established, Dr. Mungrue compared
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his results with the percentages from other medical institutions and urgent care clinics. [Exhibit

5 – Summary Charts]. This comparison shows that the percentage of failed urine tests at AUC,

in general, were lower than any of the comparison facilities.

       Dr. Thomas Simopoulis, another defense expert and a Professor in the Department of

Anesthesiology at Harvard Law School, determined that Dr. Nikparvar-Fard acted in good faith

and in the usual course of professional practice when prescribing opioids. [Exhibit 6 – Rule

16(b)(1)(iii) Disclosure, C.V. and Expert Report]. Specifically, after a full review of the medical

records in this case, Professor Simopoulis found:

               Based upon his twenty-plus years of clinical experience treating
               pain management patients and teaching in this area, his review of
               the patient records, and other evidence produced by the
               Government, in his expert opinion, Dr. Nikparvar-Fard acted in the
               usual course of professional practice, and in good faith, when
               prescribing opioids to patients, because Dr. Nikparvar-Fard used the
               following treatment techniques to evaluate the appropriateness of
               prescription opioids on a patient-by-patient basis: (A) evaluation of
               medical history, including pharmacy records, and later online
               prescription drug monitoring program; (B) physical examinations;
               (C) diagnoses; (D) use of informed consents and pain management
               agreements; (E) non-opioid treatments; (F) referrals to other
               physicians; (G) regular appointments and adjustment of frequency
               depending on drug test results; (H) undertaking witnessed drug
               testing (both point of care testing and send out confirmations); (I)
               pain assessments; (J) tracking patient responses to medications; (K)
               continuing adjustment of medications; (L) use of diagnostic tests
               that must be verified by nurses; (M) ceasing prescription opioids as
               necessary; (N) requiring referrals from primary care doctors; and
               (O) operating an insurance-based practice. Overall, Dr. Nikparvar-
               Fard was making clinical judgments and practicing medicine.

               Dr. Simopoulos further opines that Dr. Nikparvar-Fard exhibited
               appropriate vigilance in response to patient “red flags” as to opioid
               treatments, including: (A) questioning of the patient about “red
               flags”; (B) discussion of “red flags” with the patient; (C) requiring
               urine drug screens in office; (D) requiring confirmatory drug screens
               be sent for lab analysis; (E) repeating drug screens; (F) changing
               prescribed medications; (G) adjusting medication dosage; (H)
               decreasing duration of prescribed medications; (I) ceasing
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     medication as deemed necessary; (J) adding non-opioid medications
     and treatments; (K) ordering more diagnostic testing; (L) using pain
     management agreements; and (M) repeating physical examinations.

     Dr. Simopoulos further opines that the urine drug screening in
     chronic pain patients is known to have a high incidence of abnormal
     or aberrant findings. These findings can be a single or combination
     of lack of the prescribed substance(s), illicit substance(s), or other
     controlled substances. There was a significant proportion of patients
     in Dr. Nikparvar-Fard’s practice that manifested in aberrant urine
     toxicology results. Given the well-documented lack of standards in
     the medical literature on how to exactly respond to these results, Dr.
     Nikparvar- Fard had to develop his own treatment approach to
     address these test results. The clinical approach he used was to
     enhance monitoring and perform very frequent return visits.
     Prescriptions were therefore for a limited supply of 1-2 weeks
     depending upon clinical judgement. This is now a common method
     to manage patients who have mixed substance abuse and pain
     disorders. Dr. Nikparvar-Fard appropriately employed the following
     approaches to abnormalities in patient urine samples: (A) for
     indications of heroin, there was evidence of transitioning to
     methadone or suboxone; (B) for indications of cocaine abuse,
     weekly appointments with counseling; (C) for indications of
     marijuana, no action needed; (D) for indications of alcohol abuse,
     close monitoring; (E) if indications of diversion are proved,
     discharge the patient; (F) for indications of prescribed
     benzodiazepines, no action needed; (G) for indications of
     benzodiazepines or other opioids without a prescription, place
     patient on closer monitoring for a 1-2 week period; (H) if prescribed
     suboxone is not present in urine without explanation, patient is
     discharged; and (I) if suboxone is present in urine along with
     multiple substances, then patient is placed on weekly monitoring
     and referred to drug rehabilitation. In summary, discharge of a
     patient from the practice was used as a last resort, recognizing that
     the patient population at hand would likely deteriorate further into
     deeper substance abuse and overdose. This is well documented in
     the current literature and published in medical peer reviewed New
     England Journal of Medicine. In fact, it is now widely recognized
     that requiring strict compliance of these types of patient populations
     has led to an increase in deaths from opioid overdoses. That none of
     Dr. Nikparvar-Fard’s patients died from an overdose is evidence that
     his approach was successful.

     Dr. Simopoulos further opines that his review of these patient
     records is consistent with his opinion that Dr. Nikparvar-Fard acted
     at all times within the usual course of professional practice, and in
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               good faith. His review of these patients’ records shows that each
               patient complained of pain symptoms to Dr. Nikparvar-Fard, and
               that, in Dr. Simopoulos’ opinion, Dr. Nikparvar-Fard appropriately
               attempted to objectify that each patient’s pain symptoms were
               legitimate, which is particularly difficult to do in these types of
               patient populations.

               Finally, Dr. Simopoulos opines that the government’s expert, Dr.
               Thomas, overlooked the realities of the challenging patient
               population that Dr. Nikparvar-Fard was treating. Dr. Thomas’s
               approach would require the discharge of any patient who shows
               even the most remote sign of substance abuse, regardless of whether
               that individual had legitimate pain complaints. This stringent
               approach does not account for the risk of discharging such patients
               or for the differing views in the medical community on how to best
               treat patients in this type of community.


       Finally, Mr. Vincent Rupp was retained by the defense to summarize reports from

Millennium Lab Reports to ascertain the number of pain management visits for each AUC

location from 2013-2017. [Exhibit 7 – Rule 16(b)(1(iii) Disclosure and Expert C.V.]

Collectively, these reports indicate that 57% of the pain management patients only came to the

office between 1-3 times, hardly an indication that AUC was a pill mill. [Exhibit 8 – Pain

Management Client Visits]. Mr. Rupp also analyzed the urine test results from Millennium Lab

to compare the percentage of patients testing positive for illicit drugs with the percentage of

patients testing positive for illicit drugs in the Northeast region of the United States. [Exhibit 9 –

Positive Tests]. These reports show that, in general, AUC pain patients, tested positive for illicit

drugs at a lower rate than pain patients in the Northeast region.

       Mr. Rupp was also tasked to create summary charts of an analysis conducted by another

defense expert, Ms. Roto Patel. [Exhibit 10 – Patel Rule 16(b)(1(iii) Disclosure and Expert

C.V.]. Ms. Patel, a certified medical biller, conducted a review of 11,567 patient charts from the

AUC Montgomeryville location. This review proves that AUC was a legitimate medical practice
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and was not simply in the business of prescribing opioid medication. Between 2014 to 2017,

10,656 urgent care patients were treated AUC Montgomeryville where a total of 1,818 X-rays

were performed, 1,874 laboratory tests were conducted, 237 electrocardiograms were given,

1,052 minor were surgeries performed, and 774 patients received casts. [Exhibit 11- Pain

Management v. Urgent Care].

        In conclusion, Dr. Nikparvar-Fard ran a legitimate medical practice and, when necessary,

took appropriate steps to manage noncompliant, drug-seeking patients. Between 2013 and 2017

alone, Dr. Nikparvar-Fard discharged 400 patients from his pain management clinic. In addition,

Dr. Nikparvar-Fard’s opioid prescribing rate was lower than that of other physicians in

community. Finally, the evidence shows that Dr. Nikparvar-Fard did not have a financial motive

when prescribing narcotics. For example, Dr. Nikparvar-Fard twice declined to prescribe

oxycodone to a patient who provided insufficient medical documentation regarding a back

injury, even when this patient offered Dr. Nikparvar-Fard a Rolex and money in exchange for a

prescription.

    A. OBJECTIONS WHICH AFFECT THE GUIDELINE RANGE1

        1. Objection to Adjustment for Leadership Pursuant to U.S.S.G. 3B1.1(a):




1
  Despite his stipulation to the converted drug weight in the plea agreement, Dr. Nikparvar-Fard now
objects to this stipulation because it includes prescriptions underlying Counts One through Four of the
indictment. In United States v. Cianci, the Third Circuit held that a defendant cannot renege on the
stipulations in his/her agreement; however, Dr. Nikparvar-Fard maintains that his case can be
distinguished from Cianci because the stipulated amount includes conduct underlying Counts One
through Four which, as discussed above, should not be considered. The only conduct underlying Count
Five were 19 prescriptions written by Campbell and signed by Dr. Nikparvar-Fard which totaled 16,320
mg (or 16 milligrams) of prescribed oxycodone, resulting in a converted drug weight of 107.20
kilograms. If the 107.20 kilogram converted drug weight is used, the base offense level is 24.
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            The plea agreement precludes consideration of evidence outside the count of

            conviction. Count Five includes only two participants – Dr. Nikparvar-Fard and

            Campbell.

        2. Objection to Adjustment Abuse of Trust Pursuant to U.S.S.G. §3B1.3:

            The abuse of trust adjustment is unwarranted. The practice of allowing medical staff

            without a DEA registration to prescribe medication is a known and accepted practice

            in the medical community. Based upon his experience, education, and training, Dr.

            Nikparvar-Fard knew that pain management patients were at serious risk of becoming

            addicted to their medication. To combat this risk, Dr. Nikparvar-Fard implemented a

            practice called “boundary setting”. Boundary setting includes the practice of interval

            dispensing, which means that a patient comes to the medical office every week or

            every other week to obtain his or her medication. Interval dispensing limits the

            ability of a patient to take more than the prescribed amount. Because it is

            impracticable for the prescribing physician to be present at each of a patient’s interval

            appointments, nurses, physician’s assistants, or other staff may issue prescriptions in

            the absence of physician visit. Numerous medical journals and publications describe

            instances where non-DEA-registered medical office staff were allowed to prescribe

            medication in an interval dispensing situation2. Dr. Nikparvar-Fard relied on these

            publications to formulate an interval dispensing protocol in his office, which included

            Campbell issued prescriptions under certain limited circumstances. Specifically, this

            protocol required that Campbell only prescribe controlled substances to pain patients



2This issue has been fully briefed in the numerous filings related to the defendant’s motion to withdraw
guilty plea and the defense respectfully requests that the arguments and exhibits contained in those filings
be incorporated and considered herein.
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   during an interval visit, the quantity, type, and dosage of which were already

   predetermined by a licensed physician with a valid DEA registration number. Dr.

   Nikparvar-Fard required that Campbell present the patient and the chart to the

   attending physician who was present at the clinic. If the patient was stable, the

   attending physician or Dr. Nikparvar-Fard would instruct Campbell to issue the

   prescription to the patient. If the patient was not stable, Campbell was not allowed to

   give the prescription to the patient and Dr. Nikparvar-Fard, who was present in the

   office, would be summoned to see the patient. This practice is not only routinely

   accepted in the pain management and addiction fields, but was condoned by the

   government’s own expert, Dr. Stephen Thomas, who previously testified at another

   trial that it was appropriate for a patient to be given a prescription in the absence of a

   physician visit if all relevant medical conditions were stable and there were no dosage

   changes or other developments that would require medical decision-making to occur.

   Because Dr. Nikparvar-Fard implemented a protocol which is universally accepted in

   the medical field, he did not abuse the trust of his patients who came to him for

   medical assessment and advice.

3. Objection to Denial of Acceptance of Responsibility Pursuant to U.S.S.G. §3E1.1:

   Both the defense and government object to the denial of the three-level reduction for

   acceptance of responsibility which was stipulated to in the plea agreement. The

   defense respectfully maintains that this stipulation should be honored, despite Dr.

   Nikparvar-Fard’s motion to withdraw his guilty plea.
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B. MISCELLANEOUS OBJECTIONS TO CONTENT OF THE PSR

  1. Page 11, Paragraph 24: Dr. Nikparvar-Fard objects to any consideration of evidence

     outside the count of conviction. In the alternative, Dr. Nikparvar-Fard denies that

     physicians and physicians assistants were prescribing controlled substances outside

     the usual course of professional practice and for a medically illegitimate purpose.

  2. Page 11-13, Paragraphs 25-29: Dr. Nikparvar-Fard objects to any consideration of

     evidence outside the count of conviction.

  4. Page 16-17, Paragraphs 47-48; Page 20-22, Paragraphs 66-77 re: Vincent Thompson:

     Dr. Nikparvar-Fard objects to any consideration of evidence outside the count of

     conviction. In the alternative, the prescriptions written for C.S., O.B., K.B. were

     medically necessary and did not fall outside the usual course of professional practice.

  5. Pages 17 - 18, Paragraphs 51-55 re: Matthew DiGirolamo: Dr. Nikparvar-Fard

     objects to any consideration of evidence outside the count of conviction. In the

     alternative, the prescriptions written for C.B., A.S., CS-1 were medically necessary

     and did not fall outside the usual course of professional practice.

  6. Page 19, Paragraph 60: Dr. Nikparvar-Fard objects that characterization that he was

     leader of the conspiracy.

  7. Page 19, Paragraph 61: Dr. Nikparvar-Fard objects to any consideration of evidence

     outside the count of conviction. In as much as this paragraph relates to patients for

     whom Campbell signed a prescription from the blank, pre-signed prescriptions

     provided by Dr. Nikparvar-Fard, this is not an abuse of trust. Finally, the

     prescriptions written for J.C. and H.C. were medically necessary and did not fall

     outside the usual course of professional practice.
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8. Page 22-26, Paragraphs 78-97 re: Avrom Brown: Dr. Nikparvar-Fard objects to any

   consideration of evidence outside the count of conviction. In the alternative, Dr.

   Nikparvar-Fard denies telling Brown in Paragraph 92 that Brown was to prescribe

   opioids for patients even if she felt that it was not justified because, “you are there to

   take care of my needs because I can’t be everywhere”, as well as the insinuation in

   Paragraph 93 that Dr. Nikparvar-Fard criticized Brown for her “decisions” [not to

   prescribe opioids] and that Dr. Nikparvar-Fard had a direct line to the patients.

   Finally, the prescriptions written for A.M., A.J., E.M., and R.J. were medically

   necessary and did not fall outside the usual course of professional practice.

8. Pages 26-27, Paragraphs 100-105 re: Jason Dillinger: Dr. Nikparvar-Fard objects to

   any consideration of evidence outside the count of conviction. In the alternative, the

   prescriptions written for A.B. and K.B. were medically necessary and did not fall

   outside the usual course of professional practice.

9. Pages 28-30, Paragraphs 108-121 re: Marcus Rey Williams: Dr. Nikparvar-Fard

   objects to any consideration of evidence outside the count of conviction. In the

   alternative, Dr. Nikparvar-Fard denies in Paragraph 121 that Williams pleaded with

   him to stop overprescribing opioids and that the Dr. Nikparvar-Fard hired “impaired”

   or “convicted” doctors and physician’s assistants who were struggling to find work

   and then instruct them to treat all the pain patients who came to the practice. Finally,

   the prescriptions written for R.J., J.C., and S.M. were medically necessary and did not

   fall outside the usual course of professional practice.

10. Page 30, Paragraphs 124-121 re: Joanne Rivera: Dr. Nikparvar-Fard objects to any

   consideration of evidence outside the count of conviction. In the alternative, Dr.
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             Nikparvar-Fard denies that he was the “leader” of the conspiracy (Paragraph 124);

             that Dr. Nikparvar-Fard yelled at Witness 1 for failing to prescribe medication when

             a patient did not present a legitimate medical need for pain medication (Paragraph

             127); that patients would go see Dr. Nikparvar-Fard if Witness 1 refused to prescribe

             pain medication (Paragraph 128); and that Dr. Nikparvar-Fard would give patients

             additional chances to stay in the practice even after they had failed numerous drug

             tests (Paragraph 129).

         11. Page 32, Paragraph 132: Dr. Nikparvar-Fard objects to the conclusion that he is a

             leader pursuant to U.S.S.G. §3B1.1(a), as well as the conclusion that he abused a

             position of trust pursuant to U.S.S.G. §3B1.3.

IV.          CORRECTIONS

      Dr. Nikparvar-Fard did not allow Campbell to write prescriptions when his medical license

was suspended. Campbell only worked at the City Line Office. (Page 9, paragraph 23; Page 15,

Paragraph 38; Page 15, Paragraph 40; Page 16, Paragraph 45).


 V.          HISTORY AND CHARACTERISTICS OF MEHDI NIKPARVAR-FARD


      Dr. Nikparvar-Fard was born in the Islamic Republic of Iran. His father had a company that

exported carpets, to Germany, and his mother was a homemaker. At times, his family struggled

financially and Dr. Nikparvar-Fard grew up in a tense family environment. After graduating

high school in 1989, Dr. Nikparvar-Fard obtained a medical degree from the Tehran University

of Medical Sciences in Tehran. Shortly thereafter, he joined the Iranian military to fulfill his

obligatory military service. In 2000, Dr. Nikparvar-Fard immigrated to the United States, where

he eventually enrolled at Drexel University School of Medicine. In July 2014, Dr. Nikparvar-

Fard became a United States citizen and, in 2015, he legally changed his name to “Mehdi
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Armani.”


      In 1995, Dr. Nikparvar-Fard married Niusha Houshmand. They have two children: son

Matin Armani (age 20) and daughter Dorin Armani (age 18). According to Dr. Nikparvar-Fard,

he has a close and supportive marriage, and he is very involved in his children’s lives. Dr.

Nikparvar-Fard's son is a full-time student at Pennsylvania State University and lives in State

College, Pennsylvania. Dr. Nikparvar-Fard's daughter is a full-time student at Drexel University

and lives in Philadelphia, Pennsylvania. Both children suffer from depression. His daughter

suffers from anorexia nervosa.


         Niusha Houshmand confirms that she enjoys a close and supportive relationship with her

husband. Ms. Houshmand added that Dr. Nikparvar-Fard is a good father and that their children

are experiencing physical and mental health issues because of Dr. Nikparvar-Fard’s

incarceration. Specifically, she related that their son has been having difficulty in school and has

begun seeing a psychologist and their daughter has developed a facial tic.


VI.           REQUEST FOR A VARIANCE FROM THE GUIDELINE RANGE

         A.     CONDITIONS OF INCARCERATION DURING COVID

         While awaiting trial in this matter, Dr. Nikparvar-Fard was an inmate at the Federal

Detention Center. While incarceration is not supposed to be easy, in March 2020 the conditions

of Dr. Nikparvar-Fard’s incarceration became much more difficult after the outbreak of the

Covid-19 pandemic. During Covid, conditions at the FDC deteriorated as the facility’s

administration took unprecedented, yet necessary, steps to control the spread of Covid-19 within

its walls. From March 2020 through November 2020, detainees were subjected to constant

lockdowns, restricted access to legal counsel, and limited family visits. Programming was

canceled. Jobs were terminated. The draconian prison conditions endured by Dr. Nikparvar-
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Fard during Covid unquestionably support the defense request for a variance from the guideline

range.

         B.     FAMILY RESPONSIBILITIES

         Dr. Nikparvar-Fard is the sole provider for his family. His two children suffer from

serious mental health issues, including depression and anorexia nervosa. To compound these

issues, Dr. Nikparvar-Fard’s house suffered serious fire damage when his house caught fire

earlier this year. A variance from the guideline range is respectfully requested for these reasons.

VII.     REQUEST TO FILE UNDER SEAL

         Based upon the nature of the information provided in this memorandum regarding

confidential patient information, the defense respectfully requests this Sentencing Memorandum

be filed under seal. A proposed form of sealing order is attached.



                                              Respectfully submitted,




                                              /s/Caroline G. Cinquanto
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                                CERTIFICATE OF SERVICE


       I, Caroline Goldner Cinquanto, Esquire, certify that I have caused to be delivered a

copy of this Sentencing Memorandum upon the following parties on this date:

                                  Mary Kay Costello, Esquire
                                  Christopher Parisi, Esquire
                              Office of the United States Attorney
                                      615 Chestnut Street
                                           Suite 1250
                                    Philadelphia, PA 19106



                                            /s/Caroline G. Cinquanto
                                            Caroline Goldner Cinquanto

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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                              :
                                                      :       HON. GENE E.K. PRATTER
                                                      :
       v.                                             :       CRIM. NO. 18-101
                                                      :
                                                      :
MEHDI NIKPARVAR-FARD                                  :


                                              ORDER

        AND NOW, this ___________ of December 2023 after balancing the public right of

access to documents with the interest in protecting the confidential patient information, it is

hereby ORDERED that the attached Sentencing Memorandum is SEALED and IMPOUNDED

until further Order of the Court.


                                              By the Court:



                                              _______________________________________
                                              HON. GENE E.K. PRATTER
                                              Judge, United States District Court Judge
